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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

  CINDY DAUGHTERS,

                 Plaintiff,

  vs.                                            CASE NO.:

  1755     GOLDEN,     LLC,    d/b/a
  CROSSBREEZE CARE CENTER, a
  Foreign Limited Liability Company,
  VOLUNTEER PROPERTIES OF
  SARASOTA, a Florida Limited
  Liability Company, K.C. CROSS,
  Individually and JOYCE PLOURDE,
  Individually

                 Defendants.               /

                     COMPLAINT & DEMAND FOR JURY TRIAL

         Plaintiff, CINDY DAUGHTERS (“Plaintiff”), through undersigned counsel, files

  this Complaint against Defendants, 1755 GOLDEN, LLC, d/b/a CROSSBREEZE CARE

  CENTER (“1755”), VOLUNTEER PROPERTIES OF SARASOTA (“VPS”), K.C.

  CROSS (“CROSS) and JOYCE PLOURDE (“PLOURDE”) (hereinafter collectively

  called “Defendants”), and states as follows:

                                     INTRODUCTION

         1.      This is an action brought pursuant to the Family and Medical Leave Act, as

  amended, 29 U.S.C. § 2601, et seq. (“the FMLA”), the Florida Civil Rights Act of 1992,

  Fla. Stat. §760.01 et seq. (“FCRA”), the Americans with Disabilities Act, as amended,

  (“ADAAA”), 42 U.S.C. 12101, et seq.,to recover front pay, back pay, an equal amount as

  liquidated damages, reinstatement, lost benefits, compensatory damages, emotional
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  distress damages, pain and suffering, punitive damages, injunctive relief, reasonable

  attorneys’ fees and costs and any other relief to which the Plaintiff is entitled including

  but not limited to equitable relief.

          2.      Plaintiff brings a claim for discrimination and retaliation against

  Defendant, who subjected Plaintiff to workplace discrimination and retaliation because of

  her medical condition.

          3.      Plaintiff was wrongfully terminated as the culmination of discrimination

  and retaliation against her.

                                 JURISDICTION AND VENUE

          4.      The Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C.

  §1331 with federal questions involving the ADAAA and 28 U.S.C. §1337 and the FMLA

  and the authority to grant declaratory relief under the FMLA, pursuant to 28 U.S.C. § 2201

  et seq., and the FCRA, 28 U.S.C. §1367, because at all times material to this Complaint,

  Plaintiff worked for Defendants in Sarasota County, Florida.

          5.      The illegal conduct complained of and the resultant injury occurred within

  the judicial district in and for Sarasota County, Florida.

          6.      Plaintiff timely filed a Charge of Discrimination with the Equal Employment

  Opportunity Commission (“EEOC”).

          7.      On March 13, 2020, the EEOC issued its right-to-sue letter. Therefore this

  Complaint is being filed within 90 days of Plaintiff receiving her right-to-sue letter.

                                            PARTIES

          8.      Plaintiff is an adult individual who resides in Pinellas County, Florida.



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          9.     From approximately February 6, 2018 until her termination on May 1, 2019,

  Plaintiff was employed by Defendants as a Nursing Home Administrator.

          10.    Defendant 1755, is and was, at all relevant times, operating in Sarasota

  County, Florida, and is within the jurisdiction of this Court. Therefore, venue is proper in

  this Court.

          11.    Defendant VPS, is and was, at all relevant times, operating in Sarasota

  County, Florida, and is within the jurisdiction of this Court. Therefore, venue is proper in

  this Court.

          12.    At all times material to this action, Defendant, 1755, were and continues to

  be a Foreign for Profit Corporation.

          13.    At all times material to this action, Mr. Cross was an individual resident of

  the State of Florida, who owned and/or operated 1755 and who regularly exercised the

  day-to-day authority to: (a) hire and fire employees of 1755, including Plaintiff; (b)

  determine the work schedules for the employees of 1755 and (c) control the finances and

  operations of 1755. By virtue of having regularly exercised that authority on behalf of

  1755, MR. Cross is/was an employer as defined 29 U.S.C. §201, et seq.

          14.    At all times material to this action, Defendant, VPS, were and continues to

  be a Florida for Profit Corporation.

          15.    At all times material to this action, Ms. Plourde, was an individual resident

  of the State of Florida, who owned and/or operated 1755 and VPS, and who regularly

  exercised the day-to-day authority to hire and fire employees of 1755 and VPS,

  controlled the manner in which the employees performed their work, determined the



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  work schedules for the employees of 1755 and VPS, provided such employees with all

  equipment/tools necessary to perform their duties, determined their rates of pay,

  maintained the employment records for such employees, and controlled the finances and

  operations of 1755 and VPS. By virtue of having regularly exercised that authority on

  behalf of 1755, VPS, Ms. Plourde, is/was an employer as defined 29 U.S.C. § 201, et seq.

          16.     Further, at all times material to this action, Defendants were, and continue

  to be, engaged in business in Florida, doing business, among other counties, in Sarasota

  County, Florida.

          17.     At all material times, Defendants 1755 and VPS, were jointly owned by

  Defendants Mr. Cross and Ms. Plourde whom had 1755 operating a nursing home facility

  while VPS was created for the sole/improper purpose of misleading and thwarting creditors

  as it holds the deed to the land and building which comprises the nursing home facility

  which is operated by 1755. On a day-to-day basis, Mr. Cross and/or Ms. Plourde exercised

  the right to hire/fire all employees, including, but not limited to Plaintiff, he supervised such

  employees, made their schedules, determined their rate of pay and maintained their

  employment records.

          18.     Upon information and belief, VPS was created by KC Cross as a mere

  device or sham limited liability corporation meant to accomplish the ulterior purposes of

  misleading creditors and evading liability from attaching to the deed of land and the building

  for which the Crossbreeze Care Center sits on and operates out of. This is a pattern and

  practice of Mr. Cross and for all nursing home facilities that he owns and operates across the

  State of Florida. Quite literally, Mr. Cross and his business associates employ a nefarious



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  web consisting of over 25 LLC’s and shell corporations throughout the State of Florida.

  Again, this improper conduct was deliberately done by Mr. Cross and Ms. Plourde for the

  nefarious/unlawful purpose of misleading and thwarting creditors and as such, the corporate

  veil of 1755 may be pierced in order to attach liability to VPS.

         19.     Mr. Cross specifically stated to Plaintiff that Ms. Plourde “owned” the

  building where the Crossbreeze Care Center operated out of and housed residents. The deed

  to the land and building for the Crossbreeze Care Center where Plaintiff worked also reflects

  this. Ms. Plourde frequently came to perform other work in the building, attend inspections,

  maintain medical records for Crossbreeze Care Center and carry out nursing assessments.

         20.     From February 1, 2016, until her termination in April 2019, Plaintiff was

  jointly employed as the Nursing Home Administrator of Defendants who set her

  schedule, paid her a salary, directed/controlled all work performed by Plaintiff and

  managed the way Plaintiff’s work was accomplished on a day-to-day basis.

         21.     Throughout her employment, Plaintiff constantly worked and was jointly

  employed by Defendants as she took directions from 1755 and VPS in the performance of

  her duties. Throughout her employment, 1755 and VPS, were jointly owned by Mr. Cross

  and Ms. Plourde. Under their direction, both entities jointly had the authority to hire/fire

  Plaintiff, controlled the manner of her work, created her work schedule, provided her with

  assignments, provided her with the equipment/tools necessary to complete the essential

  functions of her position, reimbursed her for reasonable expenses and paid Plaintiff’s

  wages/maintained Plaintiff’s employment records.

         22.     Defendants were an employer as defined by the laws under which this action



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  is brought and employ and/or jointly employ greater than 15 employees.

            23.   At all times material to this action, Plaintiff was an “employee” of

  Defendants within the meaning of the ADA.

            24.   At all times material to this action, Defendants were, and continues to be an

  “employer” within the meaning of the ADA.

            25.   At all times material to this action, Plaintiff was an “employee” of

  Defendants within the meaning of the FMLA.

            26.   At all times material to this action, Defendants were, and continues to be,

  an “employer” within the meaning of the FMLA.

            27.   Defendants are an employer under the FMLA because it was engaged in

  commerce or in an industry affecting commerce and employed and/or jointly employed

  50 or more employees for each working day during each of 20 or more calendar

  workweeks in the current or preceding calendar year.

            28.   At all times relevant hereto, Plaintiff worked at a location where

  Defendants employed and/or jointly employed 50 or more employees within a 75 mile

  radius.

            29.   At all times relevant hereto, Plaintiff was an employee entitled to leave

  under the FMLA, based on the fact that she was employed by Defendants for at least 12

  months and worked at least 1,250 hours during the relevant 12-month period prior to her

  taking leave which would be protected pursuant to the FMLA.

            30.   At all times material, Defendants acted with malice and with reckless

  disregard for Plaintiff’s federally protected rights.



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          31.      Plaintiff retained the law firm of MORGAN & MORGAN, P.A. to represent

  Plaintiff in the litigation and has agreed to pay the firm a reasonable fee for its services.

                                  GENERAL ALLEGATIONS

          32.      On or about December 2018, Plaintiff was diagnosed with Stage II(B)

  breast cancer.

          33.      Immediate preparations were made for Plaintiff to begin chemotherapy

  with the possibility of needing a double mastectomy in the future.

          34.      Plaintiff informed the Defendants, more specifically, KC Cross and Mary

  Anne Wood about her diagnosis and treatment plan days prior to the Christmas holiday in

  December 2018.

          35.      Plaintiff requested that she be able to do her chemotherapy treatments on

  Fridays so that she could still care for patients during the week and recover on the

  weekend and the Defendants begrudgingly accommodated this reasonable request.

          36.      In or around December 2018/January 2019, immediately after informing

  Defendants of her diagnosis, Plaintiff was subjected to an adverse employment action,

  disparate treatment, undue stress and mental anguish by way of example, she confirmed

  that Defendants posted her position on the Florida Healthcare Job Board to find a

  replacement for Plaintiff in response to her requesting reasonable accommodations from

  Defendants for her chemotherapy treatments.

          37.      Plaintiff confirmed this by contacting the recruiter who was in charge of

  posting her position and was overseeing the administration of the potential hiring of her

  replacement. The recruiter contacted by Plaintiff confirmed that the position was for a



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  new Nursing Home Administrator at the Crossbreeze Care Center.

         38.     On or about May 1, 2019, Plaintiff informed Defendants, specifically,

  Mary Anne Wood, KC Cross and Mary Lewis that the chemotherapy treatment was not

  sufficient. She further informed Defendants that after her last chemotherapy treatment in

  June 2019, then she would be undergoing a double mastectomy and would be taking

  FMLA leave for approximately four (4) weeks after to recover.

         39.     During the May 1, 2019 meeting, Plaintiff was subjected to disparate and

  malfeasant treatment by way of example, KC Cross showing total disregard for Plaintiff’s

  health by implying Plaintiff should put off having her life saving surgery for a few

  months because Mr. Cross did not want to deal with the upcoming random AHCA

  inspection in the coming months. Finally, Mr. Cross begrudgingly stated to Plaintiff that

  “he would handle the inspections.”

         40.     On or about May 6, 2019, Defendants, Mr. Cross abruptly terminated

  Plaintiff and advised Plaintiff that she “needed to focus on her health.”

         41.     Plaintiff has suffered damages as a result of Defendants’ unlawful conduct.

         42.     Plaintiff seeks all available remedies including but not limited to a

  declaration from this Court that Defendant has violated the FMLA and ADAA; an order

  awarding lost wages, benefits and other compensation; an order awarding all actual

  monetary losses suffered as a result of Defendant’s conduct, as well as liquidated damages,

  per se and post judgment interest and her attorneys’ fees and costs.

  COUNT I –DISCRIMINATION UNDER THE ADAAA AGAINST DEFENDANTS
                           1755 AND VPS

         43.     Plaintiff realleges and adopts the allegations of paragraphs 1-42 above as if


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  fully set forth herein.

          44.     Plaintiff was a qualified individual with a disability.

          45.     Plaintiff was perceived as disabled by Defendants.

          46.     Defendants were Plaintiff’s employer as defined by the ADAAA.

          47.     Defendants discriminated against Plaintiff because of her actual or perceived

  disability in violation of the ADAAA.

          48.     Defendants discriminated against Plaintiff because she exercised her rights

  under the ADAAA by notifying Defendants of her actual and/or perceived disability.

          49.     Defendants failed to engage in the interactive process with Plaintiff.

          50.     Defendants had actual or constructive knowledge of the discriminatory

  conduct.

          51.     Defendants’ acts and omissions negatively affected one or more terms,

  conditions and/or privileges of Plaintiff’s employment.

          52.     Defendants’ conduct and direct comments regarding Plaintiff’s disability

  and/or perceived disability violated Plaintiff’s right to be free from discrimination as

  guaranteed by the ADAAA.

          53.     Plaintiff has no plain, adequate or complete remedy at law for the actions of

  Defendants, which have caused and continue to cause irreparable harm.

          54.     Defendants’ violations of the ADAAA were willful.

          55.     Plaintiff is entitled to recover her attorneys’ fees and costs pursuant to the

  ADAAA.




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          WHEREFORE, Plaintiff prays for a trial by jury and all legal and equitable relief

   allowed by law including:

          a.      Back pay and benefits;

          b.      Interest on back pay and benefits;

          c.      Front pay and benefits and/or lost earning capacity;

          d.      Compensatory damages for emotional pain and suffering;

          e.      Punitive damages;

          f.      Injunctive relief;

          g.      Prejudgment interest;

          h.      Declaratory judgment that Defendants’ practices violate the ADAAA;

          i.      Costs and attorney’s fees; and

          j.      Such other relief as the Court may deem just and proper.

                             COUNT II
    DISCRIMINATION BASED ON DISABILITY IN VIOLATION OF THE FCRA
                 AGAINST DEFENDANTS 1755 AND VPS

          56.     Plaintiff re-alleges and adopts the allegations stated in Paragraphs 1-42.

          57.     Plaintiff is a member of a protected class due to her disability/handicap or

   perceived disability/handicap.

          58.     By the conduct described above, Defendants engaged in unlawful

   employment practices and discriminated against Plaintiff on the basis of her

   disability/handicap or perceived disability/handicap in violation of the FCRA.

          59.     Defendants failed to engage in the interactive process with Plaintiff.

          60.     Defendants knew or should have known of the discrimination.



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           61.     The above discrimination was done by Defendants with a reckless

   disregard for Plaintiff’s rights under state law. As a direct and proximate result of the

   discrimination described above, Plaintiff has suffered and continues to suffer loss of

   employment, loss of income, loss of other employment benefits and has suffered and

   continues to suffer mental anguish, distress, humiliation, great expense and loss of

   enjoyment of life.

           WHEREFORE, Plaintiff prays for a trial by jury and all legal and equitable relief

   allowed by law including:

                   a. Back pay and benefits;

                   b. Interest on back pay and benefits;

                   c. Front pay and benefits;

                   d. Compensatory damages for emotional pain and suffering;

                   e. Punitive Damages;

                   f. Injunctive relief;

                   g. Prejudgment interest;

                   h. Costs and attorney’s fees; and

                   i. Such other relief as the Court may deem just and proper.

                              COUNT III
       RETALIATION IN VIOLATION OF DISCRIMINATION UNDER ADAAA
                   AGAINST DEFENDANTS 1755 AND VPS

           62.     Plaintiff realleges and adopts the allegations of paragraphs 1-42 above as

   if fully set forth herein.

           63.     Plaintiff requested an accommodation under the ADAAA.



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          64.       Plaintiff engaged in protected activity when she requested an

   accommodation under the ADAAA.

          65.       Plaintiff also complained about Defendant’s discriminatory treatment of

   her because of her disability and/or perceived disability.

          66.       Indeed, Plaintiff complained both to Human Resources and to Mr. Cross

   after her job was posted after alerting Defendants of her cancer diagnosis.

          67.       Plaintiff was further retaliated against by Defendants after requesting

   medically necessary leave as an accommodation under the ADAAA so she could have a

   double mastectomy surgery.

          68.       This retaliation resulted in Plaintiff’s termination and is causally related to

   her request due to the extreme close temporal proximity between her request for time off

   and her termination.

          69.       By the conduct described above, Defendant retaliated against Plaintiff

   because she engaged in protected activities in violation of the ADAAA and she was

   treated differently than other non-disabled employees of Defendants.

          70.       Defendant knew, or should have known; of the retaliation that Plaintiff

   was subjected.

          71.       At all times material hereto, Defendant acted with malice and reckless

   disregard for Plaintiff’s federally protected rights.

          WHEREFORE, Plaintiff prays for a trial by jury and all legal and equitable relief

   allowed by law including:

          a.        Back pay and benefits;



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             b.    Interest on back pay and benefits;

             c.    Front pay and benefits and/or lost earning capacity;

             d.    Compensatory damages;

             e.    Damages for mental anguish and emotional distress;

             f.    Punitive Damages;

             g.    Injunctive relief;

             h.    Prejudgment interest;

             i.    Declaratory judgment that Defendant’s practices violate the ADAAA;

             j.    Costs and attorney’s fees; and

             k.    Such other relief as the Court may deem just and proper.

                             COUNT IV
   RETALIATION IN VIOLATION OF THE FCRA AGAINST DEFENDANTS 1755
                             AND VPS

             72.   Plaintiff re-alleges and adopts paragraphs 1 – 42 as though set forth fully

   herein.

             73.   Plaintiff is a member of a protected class under the FCRA because she

   engaged in protective activities.

             74.   Plaintiff engaged in protected activity when she requested a reasonable

   accommodation under the ADAAA and complained regarding the discriminatory

   treatment she was receiving as a result of her disability and/or perceived disability.

             75.   Plaintiff also engaged in protected activity when she filed her charge of

   discrimination against Defendant.

             76.   This retaliation resulted in Plaintiff’s termination.



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           77.      By the conduct described above, Defendant treated Plaintiff differently

   than her non-disabled co-workers and engaged in unlawful employment practices and

   retaliated against Plaintiff because she engaged in protected activities in violation of the

   FCRA.

           78.      Defendant knew, or should have known, of the retaliation, discrimination

   and harassment that Plaintiff was subjected.

           79.      At all times material hereto, Defendant acted with malice and reckless

   disregard for Plaintiff’s state and federally protected rights.

           WHEREFORE, Plaintiff prays for a trial by jury and all legal and equitable relief

   allowed by law including:

                 a. Back pay and benefits;

                 b. Interest on back pay and benefits;

                 c. Front pay and benefits;

                 d. Compensatory damages for emotional pain and suffering;

                 e. Punitive Damages;

                 f. Injunctive relief;

                 g. Prejudgment interest;

                 h. Costs and attorney’s fees; and

                 i. Such other relief as the Court may deem just and proper.

                                   COUNT V
                   FMLA INTERFERENCE AGAINST ALL DEFENDANTS

           80.      Plaintiff re-alleges and adopts the allegations stated in Paragraphs 1-42.

           81.      Plaintiff was an employee entitled to the protection of the FMLA.


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          82.     Defendants were Plaintiff’s employer as defined by the FMLA.

          83.     Defendants’ actions interfered with Plaintiff’s lawful exercise of her rights

   under the FMLA.

          84.     At all times relevant to this action, Defendant failed to comply with 29

   U.S.C. § 2601, et seq., because Defendant interfered with Plaintiff’s right to take FMLA

   leave by terminating her a week after she advised Defendants that she planned to take

   FMLA leave approximately one (1) month from the date of her notice of taking FMLA

   protected leave.

          85.     Defendants also failed to provide Plaintiff with the required “Rights and

   Responsibilities” letter as set forth by the Department of Labor under the FMLA and

   failed to engage in any interactive processes with Plaintiff.

          86.     The Defendants’ actions constitute violations of the FMLA.

          87.     Defendants’ violations of the FMLA were willful.

          88.     As a result of Defendants’ unlawful actions, Plaintiff has suffered

   damages for which she is entitled to compensation, including, but not limited to lost

   wages and benefits, future pecuniary losses, emotional pain, suffering, inconvenience,

   mental anguish, loss of enjoyment of life and other non-pecuniary losses.

          89.     Plaintiff is entitled to recover her attorneys’ fees and costs.

          WHEREFORE, Plaintiff prays for a trial by jury and all legal and equitable relief

   allowed by law including:

                  a. Back pay and benefits;

                  b. Interest on back pay and benefits;



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                  c. Front pay and benefits;

                  d. Compensatory damages for emotional pain and suffering;

                  e. Injunctive relief;

                  f. Prejudgment interest;

                  g. Costs and attorney’s fees; and

                  h. Such other relief as the Court may deem just and proper.

          COUNT VI - FMLA RETALIATION AGAINST ALL DEFENDANTS

          90.     Plaintiff re-alleges and adopts the allegations stated in Paragraphs 1 - 42.

          91.     Plaintiff was an employee entitled to the protection of the FMLA.

          92.     Defendants were Plaintiff’s employer as defined by the FMLA.

          93.     Defendants discriminated and/or retaliated against Plaintiff for asserting

   her rights under the FMLA.

          94.     Defendants had actual or constructive knowledge of the discriminatory

   and/or retaliatory conduct of Plaintiff’s supervisor.

          95.     Defendants’ actions constitute violations of the FMLA.

          96.     Defendants’ acts and omissions negatively affected one or more terms,

   conditions and/or privileges of Plaintiff’s employment.

          97.     Defendants’ discriminatory acts and omissions occurred, at least in part,

   because of Plaintiff’s request for FMLA covered leave.

          98.     Defendants’ conduct violated Plaintiff’s right to be free from

   discrimination/retaliation as guaranteed by the FMLA.

          99.     As a result of Defendants’ actions, Plaintiff has suffered damages for



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   which she is entitled to compensation, including, but not limited to lost wages and

   benefits, future pecuniary losses, emotional pain, suffering, inconvenience, mental

   anguish, loss of enjoyment of life and other non-pecuniary losses.

          100.    Defendants’ violations of the FMLA were willful.

          101.    Plaintiff is entitled to recover her attorneys’ fees and costs.

                  WHEREFORE, Plaintiff prays for a trial by jury and all legal and

   equitable relief allowed by law including:

                  a. Back pay and benefits;

                  b. Interest on back pay and benefits;

                  c. Front pay and benefits;

                  d. Compensatory damages for emotional pain and suffering;

                  e. Injunctive relief;

                  f. Prejudgment interest;

                  g. Costs and attorney’s fees; and

                  h. Such other relief as the Court may deem just and proper.

                                          JURY DEMAND
          The Plaintiff requests a trial by jury on all issues so triable.


          Respectfully submitted on this 9th day of June, 2020.


                                                    s/ Gregory R. Schmitz
                                                    Gregory R. Schmitz
                                                    Florida Bar No.: 94694
                                                    Morgan & Morgan, P.A.
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